                IN THE UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                              3:08cr131


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )
                                 )               ORDER
(1) JOHNNY HOWIE a/k/a “Poke”    )
(2) RODNEY BROWN                 )
(3) TORRIE BROWN a/k/a ‘Red”     )
(4) WILLIE J. SPRINGS, JR.       )
       a/k/a “Big Will”          )
________________________________)


        THIS MATTER is before the Court on the United States’ Motion to

Extend Plea Deadline to October 3, 2008. [Doc. 43, filed September 29,

2008.

        The Court finds that for good cause shown, IT IS THEREFORE

ORDERED that the deadline for filing a plea agreement is extended

through and including October 3, 2008.

        IT IS SO ORDERED.
                                       Signed: September 30, 2008




        Case 3:08-cr-00131-MOC   Document 47    Filed 09/30/08      Page 1 of 1
